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 7

 8                              UNITED STATES BANKRUPTCY COURT

 9                  CENTRAL DISTRICT OF CALIFORNIA – RIVERSIDE DIVISION

10
     In re                                              Case No. 6:18-bk-10412-WJ
11
     LORENA LILIANA MOLINA-LOPEZ,                       Chapter 7
12
                         Debtor.                        Adv. No.
13
                                                        Hon. Wayne Johnson
14
                                                        ADVERSARY COMPLAINT: (1) FOR
     A. CISNEROS, Chapter 7 Trustee of the              TURNOVER OF PROPERTY OF THE
15   Estate of Lorena Liliana Molina-Lopez,             ESTATE (11 U.S.C. §§ 542(a), 542(e)); (2)
16                           Plaintiff,                 TO AVOID PREFERENTIAL
                                                        TRANSFERS (11 U.S.C. §§ 547(b), 550(a),
17           vs.                                        551); (3) TO AVOID FRAUDULENT
                                                        TRANSFERS (11 U.S.C. §§ 548(b), 550(a),
18   LORENA LILIANA MOLINA-LOPEZ, an                    551); (4) TO AVOID POST-PETITION
     individual, HUGO MOLINA, an individual,            TRANSFERS (11 U.S.C. §§ 549(a), 550(a),
19                                                      551)
                            Defendants.
20

21

22           Plaintiff A. CISNEROS (“Plaintiff” or “Trustee”), Chapter 7 Trustee of the Estate of

23   Lorena Liliana Molina-Lopez (“Debtor”) alleges:

24                                        JURISDICTION AND VENUE

25           1.       To the extent that it is not a proceeding to compel the debtor to deliver property

26   to the Trustee, this is an adversary proceeding to recover money or property pursuant to Rule

27   7001(1) of the Federal Rules of Bankruptcy Procedure.

28   ///


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 1          2.        This Court has jurisdiction over this matter pursuant to 28 U.S.C. sections

 2   157(b)(1) and 1334(b).

 3          3.        This is a core proceeding in which this Court may enter a final judgment

 4   pursuant to 28 U.S.C. sections 157(b)(2)(E), (H) and (K). This proceeding arises under 11

 5   U.S.C. sections 542(a), 547(b), 548(a), 549(a), 550 and 551.

 6          4.        This adversary proceeding is also related to the above Chapter 7 bankruptcy case,

 7   because it concerns property of the Chapter 7 bankruptcy estate pursuant to 11 U.S.C. section

 8   541.

 9          5.        Venue is proper in this Court pursuant to 28 U.S.C. section 1409(a), as this

10   adversary proceeding arises under Title 11 of the United States Code.

11                                                PARTIES

12          6.        Defendant LORENA LILIANA MOLINA-LOPEZ is an individual who resides

13   in California.

14          7.        Defendant HUGO MOLINA is an individual who, on information and belief, has

15   a residence in California and maintains a business in California.

16                                      GENERAL ALLEGATIONS

17          8.        On January 19, 2018 (“Petition Date”), Debtor filed a voluntary Chapter 7

18   bankruptcy petition.

19          9.        Plaintiff is the duly appointed, qualified, and acting Chapter 7 trustee of Debtor’s

20   bankruptcy estate (“Estate”).

21          10.       At all relevant times, Debtor was the sole owner of Ultimate Logistics Transport

22   Corporation (“Ultimate Logistics”).

23          11.       Within one year of the Petition Date, creditors had obtained judgments against

24   Debtor and Ultimate Logistics.

25          12.       In or about 2011, Debtor and her then-husband, Hugo Molina acquired title to the

26   real property located at 25724 Red Hawk Road, Corona, California 92883 (“Property”) as joint

27   tenants.

28   ///


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 1          13.     On or about July 17, 2017, Debtor sold the Property, resulting in net proceeds in

 2   the amount of $184,490.20 (“Net Proceeds”). Debtor deposited the Net Proceeds into a bank

 3   account in Hugo Molina’s name.         From July 2017 through April 2018, Debtor allegedly

 4   withdrew the Net Proceeds from Hugo Molina’s account and then allegedly used them to pay

 5   her personal expenses and the expenses of Ultimate Logistics. All of these transfers of the Net

 6   Proceeds are collectively referred to as the “Transfers.” The Transfers include, but are not

 7   limited, to alleged payments to her business accounts and business expenses ($67,200 or in

 8   excess of), alleged payments relating to debt belonging to her non-filing spouse ($28,000), and

 9   an alleged payments of residential monthly rental and move in costs ($10,800 or in excess of).

10   As of the Petition Date, Debtor alleged she retained as little as $21,167.01 of the Net Proceeds.

11          14.     At the time of the Transfers, Debtor was insolvent.

12          15.     In her Schedule A-B and Statement of Financial Affairs, Debtor failed to disclose

13   the Net Proceeds or the Transfers. At the Section 341(a) Meeting of Creditors, Debtor again

14   failed to disclose the Net Proceeds or the Transfers.

15          16.     On February 22, 2018, Plaintiff filed a Report of No Distribution. On or about

16   March 30, 2018, however, a creditor notified Plaintiff about the sale of the Property and the Net

17   Proceeds. After an investigation, Plaintiff withdrew his Report of No Distribution.

18          17.     Plaintiff requested that the Debtor provide a full and complete accounting of the

19   Net Proceeds.      Debtor provided a summary accounting without sufficient supporting

20   documentation.

21          18.     On August 10, 2018, Debtor filed an Amended Statement of Financial Affairs.

22          19.     On June 14, 2018, the United States Trustee commenced an adversary

23   proceeding to deny Debtor’s discharge pursuant to 11 U.S.C. sections 727(a)(2), (a)(4) and

24   (a)(5). On September 10, 2018, the Court entered a judgment denying Debtor’s discharge.

25          20.     On October 12, 2018, Plaintiff filed a motion against Debtor for turnover of the

26   Net Proceeds and a full and complete accounting of the Net Proceeds.

27          21.     Debtor opposed the motion but admitted that she had deposited the Net Proceeds

28   in Hugo Molina’s account and used them to pay her personal expenses and the expenses of


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 1   Ultimate Logistics. On October 24, 2018, and November 19, 2018, Debtor provided further

 2   information and documents, but she failed to provide a full and complete accounting.

 3          22.     On December 7, 2018, the Court entered an order granting the Turnover Motion

 4   (“Turnover Order”). Among other things, the Court ordered the Debtor to provide a full and

 5   complete accounting.

 6          23.     Debtor has failed to comply with the terms of the Turnover Order by refusing to

 7   provide a full and complete accounting. Debtor turned over $21,167.01.

 8          24.     Plaintiff’s counsel has requested that Hugo Molina turn over the Net Proceeds

 9   and/or a full and complete accounting of the same, but he has refused to do so.

10                                     FIRST CAUSE OF ACTION

11                               (for Turnover of Property of the Estate)

12                                      (11 U.S.C. §§ 542(a), 542(e))

13                                        (Against all Defendants)

14          25.     Plaintiff adopts, incorporates by reference, and realleges each of the allegations

15   contained in paragraph 1 through 24 of this Complaint as if they were fully set forth herein.

16          26.     11 U.S.C. section 542(a) provides, in relevant part:          “[A]n entity . . . in

17   possession, custody, or control, during the case, of property that the trustee may use . . . under

18   section 363 of this title . . . shall deliver to the trustee, and account for, such property or the

19   value of such property, unless such property is of inconsequential value or benefit to the estate.”

20          27.     11 U.S.C. section 542(e) provides: “Subject to any applicable privilege, after

21   notice and a hearing, the court may order an attorney, accountant, or other person that holds

22   recorded information, including books, documents, records, and papers, relating to the debtor’s

23   property or financial affairs, to turn over or disclose such recorded information to the trustee.”

24          28.     Defendants are in possession, custody, or control of the Net Proceeds and a full

25   and complete accounting of the same.

26          29.     Plaintiff may use the Net Proceeds to pay unsecured creditors of the Estate.

27          30.     The Net Proceeds are not of inconsequential value or benefit to the Estate.

28          31.     Therefore, pursuant to 11 U.S.C. sections 542(b) and 542(e), the Court should


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 1   order Defendants to deliver the Net Proceeds and a full and complete accounting of the Net

 2   Proceeds to Plaintiff.

 3                                      SECOND CAUSE OF ACTION

 4                                     (to Avoid Preferential Transfers)

 5                                     (11 U.S.C. §§ 547(b), 550(a), 551))

 6                                     (Against Defendant Hugo Molina)

 7             32.   Plaintiff adopts, incorporates by reference, and realleges each of the allegations

 8   contained in paragraph 1 through 31 of this Complaint as if they were fully set forth herein.

 9             33.   11 U.S.C. section 547(b) provides, in relevant part: “[T]he trustee may avoid any

10   transfer of an interest of the debtor in property—(1) to or for the benefit of a creditor; (2) for or

11   on account of an antecedent debt owed by the debtor before such transfer was made; (3) made

12   while the debtor was insolvent; (4) made—(A) on or within 90 days before the date of the filing

13   of the petition; or (B) between ninety days and one year before the date of the filing of the

14   petition, if such creditor at the time of such transfer was an insider; and (5) that enables such

15   creditor to receive more than such creditor would receive if—(A) the case were a case under

16   chapter 7 of this title; (B) the transfer had not been made; and (C) such creditor received

17   payment of such debt to the extent provided by the provisions of this title.”

18             34.   On information and belief, some or all of the Transfers were preferential within

19   the meaning of 11 U.S.C. section 547(b).

20             35.   Therefore, Plaintiff may avoid those Transfers pursuant to 11 U.S.C. section

21   547(b).

22             36.   11 U.S.C. section 550(a) provides, in relevant part:              “Except as otherwise

23   provided in this section, to the extent that a transfer is avoided under section . . . 547 . . . of this

24   title, the trustee may recover, for the benefit of the estate, the property transferred, or, if the

25   court so orders, the value of such property, from—(1) the initial transferee of such transfer or

26   the entity for whose benefit such transfer was made.”

27             37.   11 U.S.C. section 551 provides, in relevant part: “Any transfer avoided under

28   section . . . 547 . . . of this title . . . is preserved for the benefit of the estate but only with respect


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 1   to property of the estate.”

 2             38.   Because the Transfers may be avoided pursuant to 11 U.S.C. section 547(b), the

 3   avoided interest should be recovered and preserved for the benefit of the Estate pursuant to 11

 4   U.S.C. sections 550(a)(1) and 551.

 5                                     THIRD CAUSE OF ACTION

 6                                    (to Avoid Fraudulent Transfers)

 7                                   (11 U.S.C. §§ 548(a), 550(a), 551))

 8                                   (Against Defendant Hugo Molina)

 9             39.   Plaintiff adopts, incorporates by reference, and realleges each of the allegations

10   contained in paragraph 1 through 38 of this Complaint as if they were fully set forth herein.

11             40.   11 U.S.C. section 548(a) provides, in relevant part: “The trustee may avoid any

12   transfer . . . of an interest of the debtor in property . . . that was made or incurred on or within 2

13   years before the date of the filing of the petition, if the debtor voluntarily or involuntarily—(A)

14   made such transfer or incurred such obligation with actual intent to hinder, delay, or defraud any

15   entity to which the debtor was or became, on or after the date that such transfer was made or

16   such obligation was incurred, indebted; or (B) (i) received less than a reasonably equivalent

17   value in exchange for such transfer or obligation; and (ii) (I) was insolvent on the date that such

18   transfer was made or such obligation was incurred, or became insolvent as a result of such

19   transfer or obligation; (II) was engaged in business or a transaction, or was about to engage in

20   business or a transaction, for which any property remaining with the debtor was an unreasonably

21   small capital; (III) intended to incur, or believed that the debtor would incur, debts that would be

22   beyond the debtor’s ability to pay as such debts matured; or (IV) made such transfer to or for

23   the benefit of an insider, or incurred such obligation to or for the benefit of an insider, under an

24   employment contract and not in the ordinary course of business.”

25             41.   On information and belief, some or all of the Transfers were actually and/or

26   constructively fraudulent within the meaning of 11 U.S.C. section 548(a).

27             42.   Therefore, Plaintiff may avoid those Transfers pursuant to 11 U.S.C. section

28   548(a).


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 1             43.   11 U.S.C. section 550(a) provides, in relevant part:              “Except as otherwise

 2   provided in this section, to the extent that a transfer is avoided under section . . . 548 . . . of this

 3   title, the trustee may recover, for the benefit of the estate, the property transferred, or, if the

 4   court so orders, the value of such property, from—(1) the initial transferee of such transfer or

 5   the entity for whose benefit such transfer was made.”

 6             44.   11 U.S.C. section 551 provides, in relevant part: “Any transfer avoided under

 7   section . . . 548 . . . of this title . . . is preserved for the benefit of the estate but only with respect

 8   to property of the estate.”

 9             45.   Because the Transfers may be avoided pursuant to 11 U.S.C. section 548(a), the

10   avoided interest should be recovered and preserved for the benefit of the Estate pursuant to 11

11   U.S.C. sections 550(a)(1) and 551.

12                                      FOURTH CAUSE OF ACTION

13                                     (to Avoid Post-Petition Transfers)

14                                     (11 U.S.C. §§ 549(a), 550(a), 551))

15                                     (Against Defendant Hugo Molina)

16             46.   Plaintiff adopts, incorporates by reference, and realleges each of the allegations

17   contained in paragraph 1 through 45 of this Complaint as if they were fully set forth herein.

18             47.   11 U.S.C. section 549(a) provides, in relevant part: “[T]he trustee may avoid a

19   transfer of property of the estate—(1) that occurs after the commencement of the case; and (2)

20   . . . (B) that is not authorized under this title or by the court.”

21             48.   On information and belief, some or all of the Transfers were post-petition

22   transfers within the meaning of 11 U.S.C. section 549(a).

23             49.   Therefore, Plaintiff may avoid those Transfers pursuant to 11 U.S.C. section

24   549(a).

25             50.   11 U.S.C. section 550(a) provides, in relevant part:              “Except as otherwise

26   provided in this section, to the extent that a transfer is avoided under section . . . 549 . . . of this

27   title, the trustee may recover, for the benefit of the estate, the property transferred, or, if the

28   court so orders, the value of such property, from—(1) the initial transferee of such transfer or


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 1   the entity for whose benefit such transfer was made.”

 2           51.     11 U.S.C. section 551 provides, in relevant part: “Any transfer avoided under

 3   section . . . 549 . . . of this title . . . is preserved for the benefit of the estate but only with respect

 4   to property of the estate.”

 5           52.     Because the Transfers may be avoided pursuant to 11 U.S.C. section 549(a), the

 6   avoided interest should be recovered and preserved for the benefit of the Estate pursuant to 11

 7   U.S.C. sections 550(a)(1) and 551.

 8                                          PRAYER FOR RELIEF

 9           WHEREFORE, Plaintiff prays for judgment as follows:

10           1.      As to the First Cause of Action for Turnover of Property of the Estate, for

11   turnover of the Net Proceeds and a full and complete accounting of the Net Proceeds;

12           2.      As to the Second Cause of Action to Avoid Preferential Transfer, for avoidance

13   of the Transfers pursuant to 11 U.S.C. section 547(b), and to recover and preserve the avoided

14   interest for the benefit of the Estate pursuant to 11 U.S.C. sections 550(a)(1) and 551;

15           3.      As to the Third Cause of Action to Avoid Fraudulent Transfer, for avoidance of

16   the Transfers pursuant to 11 U.S.C. section 548(a), and to recover and preserve the avoided

17   interest for the benefit of the Estate pursuant to 11 U.S.C. sections 550(a)(1) and 551;

18           4.      As to the Fourth Cause of Action to Avoid Post-Petition Transfer, for avoidance

19   of the Transfers pursuant to 11 U.S.C. section 549(a), and to recover and preserve the avoided

20   interest for the benefit of the Estate pursuant to 11 U.S.C. sections 550(a)(1) and 551;

21           5.      For pre-judgment interest; and

22           6.      For such additional relief as the Court may deem just and proper.

23
     Dated: January 15, 2020
24
                                                       MALCOLM  CISNEROS, a Law Corporation
25
                                                       By:     /s/ Christina J. Khil
26                                                             CHRISTINA J. KHIL
                                                               Attorney for A. Cisneros, Chapter 7 Trustee
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